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                 IN THE UI\ITED STATES DISTRICT COURT FOR TTIE
                            NORTHERN DISTRICT OF OKLAHOMA

  (r) UNTTED STATES OF ANIERTCA,                    )
      EJ /E/.   SANDRA WAGNER                       )
                                                    )
                         Plaintiffs,                )
                                                    )
                                                    )       Case No. 15-CV-260-GKF-JFJ
                                                    )
  (1) CARE PLUS HOME HEALTH CARE,                   )
      INC.,                                         )
  (2) PRASAD ITTY and                               )
  (3) KUMAR GOVTND                                  )
                                                    )
                         Defendants.                )

                        UNITED STATES' STATEMENT OF INTEREST

          The United States submits this Statement of Interest, pursuant to 28 U.S.C. $ 5 17, to

  respond to certain arguments made in Defendants' Brief       in Support of its Motion to Dismiss.

  Although the United States has not intervened in this action, it remains the real party in interest.

  United States ex rel. Eisenstein v. City of New York,556 U.S. 928, 930 (2009). The False Claims

  Act (FCA), 31 U.S.C. $ 3729 et seq., is the United States' primary tool to redress fiaud on the

  government. Thus, the United States has a keen interest in the development and correct application

  of the law in this area. The United States submits this briefto respond to Defendants' argument

  that the existence of physician certifications insulates Defendants from FCA liability for billing

  the govemment for home health services for patients who were not homebound. The Court should

  reject these arguments for the reasons discussed below. The United States otherwise takes no

  position on the motion.

          Physician certifications do not immunize home health providers from FCA liability.

          Defendants contend that physician certifications that a patient is homebound and entitled

  to home health services immunize Defendants from False Claims Act liability as to claims for


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  patients alleged to be non-homebound.l However, Defendants' contention misconstrues the role

  ofphysician certifications in Medicare's home health benefit, as well as the obligations that the

  False Claims Act imposes on all who seek payment                liom the governrnent. Under the statutory and

  regulatory framework underpinning this benefit, and under the False Claims Act, a home health

  care provider has an independent obligation to ensure that                it only submits claims to Medicare for

  billable services. This includes the obligation not to bill for patients who are not homebound.

           Part 424 of Title 42 of the Code of Federal Regulations, titled "Conditions for Medicare

  Pa)rynent" states that "Medicare Part         A or Part B pays for home health services only if             a   physician

  certifies and recertifies the content specified in paragraphs (a)(l) and (b)(2) of this section, as

  appropriate." 42 C.F.R. $ 424.22. But the physician certification alone is not enough. Medicare

  also conditions payment on the beneficiary actually being homebound and needing skilled

  services. 42 C.F.R. $ 409.41(c) conditions payment on all requirements contained in $$ 409.42-

  409.47 being     met. Those requirements include the requirement that the patient is confined to the

  home.    See 42   C.F.R. $ a09.42(a). See also United States ex rel. White v. Gentiva Health                       Ser-vs.,


  [nc.,2014 U.S. Dist. LEXIS 86156, at *45 (E.D. Tenn. June 15,2014) (Doc.57-1 at 78-91)

  ("Medicare conditions payment on the beneficiary actuaily being homebound and actually needing

  skilled services"). To that end, as Defendant acknowledges, home health agencies have the duty

  to "verify the patient's eligibility for the Medicare home health benefit including homebound

  status, both at the time of the initial assessment visit and at the time of the comprehensive

  assessment." 42 C.F.R. $484.55 (emphasis added). See Defendants' Brief at 7 (emphasis added).




  I Defendants' Briefat I I ("Whether a patient is eligible for Medicare home-health benefits is a determination made
  - and certified to by the patient's physician."); ("Given their role in this process, physicians are often referred to as
  the "gatekeepers" for Medicare home-health benefits."); Defendants' Reply Briefat 4 ("fU]nder Medicare, a
  patient's eligibility for home health services is determined (and certified to) by the patient's physician and, thus, it's
  immaterial what an HHA administrator thinks about the patient's eligibility.").


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  This assessment occurs prior to the physician's eligibility certification and is a critical step in the

  eligibility determination process. See United States ex rel. Prather v. Brookdale Senior Living

  Communities, Inc,838 F.3d 750 (6'h Cir. 2016).

           In the Galatis   case, cited    by Defendant to highlight the importance of the physician's

  certification, the Court noted that the certification is the "second document" submitted to the

  Department of Health and Human Services. United States v. Galatis, 849 F.3d 455, 457. "The

  first is a checklist known as an OASIS [Outcome and Assessment Information Set] Form,                 a


  'voluminous document' that 'details the beneficiary's condition", and is completed by the home

  health medical staff, in response to the physician's referral. Id at 457. As noted by the Court in

  Galatis's co-defendant's case, Janice Troisi ("Troisi"), a nurse acting as Clinical Director for the

  home health agency, "professed her 'expertise'       in 'PPS', the process by which medical providers

  submit palnnent requests to Medicare based on patients' OASIS forms." United States v. Troisi,

  849 F.3d 490,495. Troisi was convicted ofone count ofconspiracy to commit health care fraud

  and I I counts of substantive heaith care fraud, based on her role in assisting the home health

  agency   bill for services provided to patients who were ineligible, either because they were not

  homebound or required no skilled nursing services. The       lroisi Court recognized   the coordination

  required ofall health care providers in the home health patient eligibility determination.

           So, while physicians have been referred to as "gatekeepers" of Medicare's home health

  benefits, as   in [Jnited   States v.   Patel, 778 F.3d 607, 616 (7th Cir. 2015), the cases cited by

  Defendants support the United States'position that the the regulations clearly require both an

  assessment by the home health staff and a Form 485, signed by the authorizing physician. The

  home health agency's obligation is independent of the physician certification requirement and

  requires Defendants to bill only for patients who are actually homebound. Home health agencies




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  are in a position to assess medical needs and the homebound status ofpatients during their regular

  home health visits. Thus,        ifa   clinician notes that a patient was not confined to the home (e.g.,

  routinely driving selfover 40 miles to wound care clinic, as alleged in Complaint fl 121), it is the

  home health agency's responsibility, regardless of the physician's initial cedification, to ensure

  that it only bills for eligible patients and not simply to continue to        bill for a patient who is ineligible

  for the Medicare home health benefit. The physician certification plainly serves a different

  function. It is a forward-looking projection of medical need at the time the beneficiary's plan of

  care is established     -   the start of the sixty-day episode of care - and an assessment of the

  beneficiary's homebound status at that time.2 It is not a backward looking attestation that the

  beneficiary was homebound throughout a prior sixty-day episode of care or a promise that the

  patient   will remain homebound going forward. The physician certification cannot, for example,

  take into account potential changes in the beneficiary's health throughout the episode ofcare that

  may have an impact on homebound status. In addition, it is based on an initial evaluation, not the

  regular and ongoing contact with the patient that home health agencies have through their home

  health visits, which may, and often do, provide the home health agency with insight contmry to

  that forming the basis for the physician's initial assessment. Very simply, the regulations for

  Medicare home health eligibility impose a system ofchecks and balances designed to protect the

  federal health benefit program. Responsibility for accurately assessing              a   beneficiary's homebound

  status rests with both the certifying physician and the home health agency submitting the claim                   for

  reimbursement.


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   "The certification of need for home health services must be obtained at the time the plan ofcare is established or as
  soon thereafter as possible and must be signed and dated by the physician who establishes the plan." 42 C.F.R.
                                                                                                                  $
  424.22(a)(2). While the "as soon thereafter as possible" language in the regulations provides some leeway to
  provide6 in obtaining the certifying physician's signature, the timing requirements quite clearly demonstrate that the
  certifying physician's certihcation ofmedical need is designed to be ajudgment at the outset ofthe episode ofcare
  mther than a post-hoc analysis ofthe services actually provided by the home health agency throughout the course of
  a sixty-day episode.



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              Likewise, the False Claims Act holds liable "any person who . . . knowingly presents . .                .



  false claims to the United States,"           3l U.S.C. $ 3729(a)(1),   regardless of whether others may also

  have a role in the claims submission process.            At the appropriate time, Defendants may decide to

  present to the     jury the physician certifications here      as evidence that   it believed the patients were

  homebound and the services for which                 it billed were eligible to be paid.       Those physician

  certifications would be one piece ofevidence, however, not an automatic defense to FCA liability

  at the motion to dismiss stage. Relator can thus allege that Defendants submitted false claims                   with

  the requisite scienter, and can do so without alleging that any physician certification was deficient

  or tainted in any way.

              The Court should reject Defendants' argument, however, that a physician's certification

  that   a   patient is homebound constitutes a subjective clinical decision that therefore cannot give rise

  to FCA liability. This argument is contrary to the FCA and precedent. As a general rule, claims

  for payrnent are "false" within the meaning ofthe statute ifthe party submitting them is not entitled

  to be paid because a condition of payment has not been met. See United States ex rel. Augustine

  v. Century Health Servs.,289         F   .3d 409, 415 (6th Cir. 2002); (Jnited States ex rel. Riley v.   St.   Luke's

  Episcopal Hosp., 355 F.3d 370, 376 (5'h Cir. 2004) ("[C]laims for medically unnecessary treatment

  are actionable under the       FCA"). As set forth above, Medicare conditions payment on patients

  actually being homebound         -   and not just a physician certification affirming homebound status             -
  so claims for patients who are not homebound are "false" under the                FCA. Factfinders       are well-

  equipped       to weigh    evidence      of   whether patients are homebound and          to   evaluate clinical

  information and other documentation                 in a medical    record, relevant policies and guidance

  promulgated by the govemment or other entities, and expert and other witness testimony. A jury

  may need to weigh conflicting medical evidence, but that happens in many cases. see, e.g., united




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   States v. Persaud, No. 16-3105. 2017       WL 2557823, at *7     (6th   Cir. June 13,2017) (motion to

   publish granted JuJy 1 , 2017) (holding that jury permissibly credited the testimony of govemment

   experts to find a physician had knowingly required his patients to undergo unnecessary cardiac

   tests and procedures); (lnited States v. Patel,485 F.   App'x 702,709        (5th Cfu. 2012) (unpublished)

   (holding that   a   jury "was permitted to credit" the testimony of govemment experts regarding          the

   lack of medical necessity and the existence of false statements over contrary testimony and

   evidence from the defendant); Weese v. Schukman, 98 F.3d 542, 547 -48 (l0th                    Cir.    1996)

   (reinstating jury verdict in medical malpractice case because it was "within the jury's role as the

   factfinder to decide that [the plaintiffs] witnesses were not credible and therefore reject their

   testimony").

          While Defendants might not be liable ifthey reasonably, but erroneously, believed         a   patient

   was homebound, that would be only because Defendants did not act "knowingly," see               3l    U.S.C.

   $3729(aX1XA), (B)        - not because Defendants' claim was reimbursable         (i.e., not "false"). The

   FCA imposes liability for the "knowing[" presentment of a false claim, which includes "actual

  knowledge,", "deliberate ignorance," or "reckless disregard."            3l   U.S.C. $3729(a), (b)(1).     If
   Defendants submitted a claim in good faith, the knowledge requirement would not be met and

   Defendants would not be liable, even      if the claim was not reimbursable      because the patient was

  not actually homebound. But that would not mean the claim was not false; as the Supreme Court

  recently explained, courts should address "concerns about fair notice and open-ended liability . .          .



  through strict enforcement ofthe Act's materiality and scienter requirements," not by..adopting a

  circumscribed view of what it means for a claim to be false or fraudulent." Universal Health

  servs., Inc. v. united states ex rel. Escobar, 136 s.      ct.   1989, 2oo2 (2016) (quotation marks

  omitted); see also united states ex rel. oliver v. parsons Co., 195 F.3d 457,460 (9rh           cir.   1999)




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   ("A contractor relying on a good faith interpretation ofa regulation is not subject to liability, not

   because his or her interpretation was correct or 'reasonable' but because the good faith nature   of

   his or her action forecloses the possibility that the scienter requirement is met."). Nowhere does

   the FCA distinguish between "objective" and "subjective" false claims when it prohibits false

   claims submission. The potential for a reasonable but erroneous beliefthat a claim was eligible

   for payment goes not to falsity but to scienter'. to "whether the defendant actually knew or shouid

   have known that its conduct violated a regulation." United States ex rel. Phalp v. Lincare

  Holdings, Inc., 857 F.3d 1148, 1i55 (l lth Cir.2017).

                                            CONCLUSION

          For the foregoing reasons, the United States respectfully asks the Court to reject

   Defendants' arguments addressed in this Statement oflnterest. The United States takes no position

   on other arguments made. The United States also asks that,      if the Court dismisses the relator's

   Complaint because it is inadequately plead, it make such dismissal without prejudice to the United

   States. United States ex rel. Williams v. Bell Helicopter Textron Inc.,4l7 F.3d 450,456 (5th Cir.

  2005) (concluding "dismissal with prejudice as to the United States [is] unwarranted where . . . the

  relator's claims were dismissed on a Rule 12(bX6) motion based on lack of specificity in the

  complaint as required by Rule 9(b)").




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  Dated: Septemb er 27,2017                               Respectfully submitted,

                                                          R. Trent Shores
                                                          Ur.rited States Attorney

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                                      CERTIFICATE OF SERVICE

        I  hereby certify that on September 27, 2017, using the ECF System, I electronically
  transmitted the foregoing to the Clerk of Court for filing and transmittal of a Notice of Electronic
  Filing to the following ECF registrants:

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  Dated: September   27   ,2017                        \''..,...-   '-tJl
                                                       Marianne Hardcastle




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